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                       IN THE UNITED STATES COURT OF APPEALS

                                 FOR THE ELEVENTH CIRCUIT



                                         No. 16-16270':GG


 LABMD, INC.,

                                                                               Petitioner,

                                                versus

FEDERAL TRADE COMMISSION,

                                                                               Respondent.



                              Petition for Review of a Decision of the
                                     Federal Trade Commission

                                                                                                          ,.1
BEFORE: TJOFLAT and WILSON, Circuit Judges, and ROBRENO: District Judge.

BY THE COURT:

         Before the Court is Petitioner's application for attorney's fees under the Equal Access to

Justice Act. The Court, upon its own motion, hereby refers Petitioner's application for attorney's

fees to a special master under Federal Rule of AppelIate,Procedure.48.

        The Clerk ofCourt is directed to provide a copy of this order to the Chief Judge of the

            'strict of Georgia. The Chief Judge of the Northern District of Georgia is directed to

     int a district judge or magistrate judge of that court to act as Special Master to hold a hearing,

if necessary, and to recommend.factual findings and make a report and recommendation on the

proper disposition of Petitioner's application. The Chief Judge of the Northern District of G.(:orgia


      • Honorable Eduardo C. Robreno, United States District Judge for the Eastern District of
\:Ptnnsylvania, sitting by designa~n. \                                '
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is requested to notify this Court's Clerk's Office when the Special Master has been appointed.
                                                           I                                .


       After appointment of the Special Master, the Clerk of Court is directed to furnish the

Special Master with a copy ofthls order, the Court's opinion in this matter, Petitioner's application

for attorney's fees, Respondent's response in opposition to the application, Petitioner's reply in

support of the application, and any items in the Coures files that the Special Master requires.

       The Special Master is authorized to perform all acts and take all measures necessary or

proper for the Special Master's duties under this order. Nothing in this order is intended to limit

the Special Master's powers. See Fed. R. App. P. 48(a). After review of Petitioner's application,

and any hearing if necessary. the Special Master shall file the report and recommendation with

this Court's Clerk of the Court. The Clerk of Court shall serve the parties with a copy of the

report and recommendation. Either side may file written objections to the Special Master's report

and recommendation, but the objections must be filed with the Court and served upon the other

side and the Special Master within twenty-one (21) days after service of the report and

recommendation. The
                  , matter then shall be submitted to the Court for consideration and

disposition without further briefing.
